                     Case 1:10-cr-00347-LJO Document 138 Filed 05/13/15 Page 1 of 2
AO 245D-CAED (Rev. 09/2011) Sheet 1 - Judgment in a Criminal Case for Revocation



                                    United States District Court
                                            Eastern District of California

          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                     v.                                                   (For Revocation of Probation or Supervised Release)
                                                                          (For Offenses committed on or after November 1, 1987)
            MICHAEL IAN CONWAY
                      (Defendant’s Name)                                  Criminal Number: 1:10CR00347-003 LJO


                                                                          JOHN GARLAND
                                                                          Defendant’s Attorney

THE DEFENDANT:
[U] admitted guilt to violation of charge TWO as alleged in the violation petition filed on 03/16/20915 .
[]  was found in violation of condition(s) of supervision as to charge(s) after denial of guilt, as alleged in the
    violation petition filed on .
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violation(s):
Violation Number                     Nature of Violation                                     Date Violation Occurred
Charge Two                           NEW LAW VIOLATION                                       October 2014




The court: [U] revokes: [ ] modifies: [ ] continues under same conditions of supervision heretofore ordered on May 27, 2011 .

       The defendant is sentenced as provided in pages 2 through 2 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

[U]      Charge One is dismissed.

[U]      Appeal Rights GIVEN.


         Any previously imposed criminal monetary penalties that remain unpaid shall remain in effect.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgment are fully paid.

                                                                                             May 11, 2015
                                                                                    Date of Imposition of Sentence


                                                                                        /s/ Lawrence J. O’Neill
                                                                                      Signature of Judicial Officer


                                                                       LAWRENCE J. O'NEILL, United States District Judge
                                                                              Name & Title of Judicial Officer


                                                                                                 May 13, 2015
                                                                                                    Date
                    Case 1:10-cr-00347-LJO Document 138 Filed 05/13/15 Page 2 of 2
AO 245B-CAED (Rev. 09/2011) Sheet 2 - Imprisonment
CASE NUMBER:               1:10CR00347-003 LJO                                                           Judgment - Page 2 of 2
DEFENDANT:                 MICHAEL IAN CONWAY


                                                        IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of 24 Months .



[U]      No TSR: Defendant shall cooperate in the collection of DNA.

[]       The court makes the following recommendations to the Bureau of Prisons:



[U]      The defendant is remanded to the custody of the United States Marshal.


[]       The defendant shall surrender to the United States Marshal for this district.
         [ ] at     on     .
         [ ] as notified by the United States Marshal.


[]       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         [ ] before on       .
         [ ] as notified by the United States Marshal.
         [ ] as notified by the Probation or Pretrial Services Officer.
         If no such institution has been designated, to the United States Marshal for this district.

                                                               RETURN
I have executed this judgment as follows:




         Defendant delivered on                                     to

at                                          , with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL



                                                                                        By
                                                                                                Deputy U.S. Marshal
